UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
                                                )
In re:                                          )
                                                )      Case No. 20-10322 (CLB)
The Diocese of Buffalo, N.Y.                    )
                                                )      Chapter 11
                     Debtor.                    )
                                                )


                                   NOTICE OF FILING
         PLEASE TAKE NOTICE that, in accordance with the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Professionals and Members of

Official Committees [Docket No. 362], Jones Day has filed the Monthly Fee Statement of Jones

Day for Compensation for Services Rendered and Reimbursement of Expenses as Special Counsel

to The Diocese of Buffalo, N.Y. for the Period March 1, 2021 Through March 31, 2021, a copy of

which is attached hereto and hereby served upon you.



 Dated: April 20, 2021
                                                /s/ John D. Goetz
                                                John D. Goetz
                                                Jones Day
                                                500 Grant Street, Suite 4500
                                                Pittsburgh, PA 15219-2514
                                                (412) 391-3939
                                                jdgoetz@jonesday.com




  Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                   Description: Main Document , Page 1 of 16
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
                                                 )
In re:                                           )
                                                 )    Case No. 20-10322 (CLB)
The Diocese of Buffalo, N.Y.                     )
                                                 )    Chapter 11
                      Debtor.                    )
                                                 )


               MONTHLY FEE STATEMENT OF JONES DAY FOR
     COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
      EXPENSES AS SPECIAL COUNSEL TO THE DIOCESE OF BUFFALO, N.Y.
          FOR THE PERIOD MARCH 1, 2021 THROUGH MARCH 31, 2021
 Name of Applicant:                         Jones Day

 Authorized to Provide                      The Diocese of Buffalo, N.Y.
 Professional Services to:                  Debtor and Debtor in Possession

 Date of Retention:                         Order entered February 23, 2021 [Docket No. 905]
                                            Nunc Pro Tunc to December 1, 2020

 Period for which Compensation and
 Reimbursement is Sought:                   March 1, 2021 through March 31, 2021

 Amount of Compensation Sought as
 Actual, Reasonable and Necessary (after
 20% discount and 20% holdback):            $137,344.00 (80% of $171,680.00)

 Amount of Expense Reimbursement
 Sought as Actual, Reasonable and
 Necessary:                                 $627.00


This is a: __X__ monthly ____ quarterly ____ final application.

This is Jones Day’s second monthly fee statement in this case.




  Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                   Description: Main Document , Page 2 of 16
                                          IN ACCOUNT WITH

                                         JONES DAY
                                            Pittsburgh
                                    500 Grant Street, Suite 4500
                                    Pittsburgh, PA 15219-2514
                                          (412) 391-3939

                               Federal Identification Number: ____________


April 15, 2021                                                                             764596

                                                                                 Invoice: 33481241
Roman Catholic Diocese of Buffalo
795 Main Street
Buffalo, NY 14203



For legal services rendered for the period through March 31, 2021:

State of New York v. Diocese of Buffalo, et al.                        198.20             160,242.00
Fee/Employment Applications                                             21.00              10,704.00
Case Administration                                                      1.90                 734.00


Total Fees                                                             221.10   USD       171,680.00
Total Disbursements & Charges                                                   USD          627.00

TOTAL                                                                           USD      172,307.00




                                        Please remit payment to:




Case 1-20-10322-CLB,     Doc
               PLEASE STATE    1008, No:Filed
                            REFERENCE          04/20/21,
                                         ________________      Entered
                                                          IN YOUR       04/20/21 17:32:54,
                                                                  PAYMENT
                  Description: Main Document , Page 3 of 16
                                             JONES DAY

                                      Roman Catholic Diocese of Buffalo

                                     FEE SUMMARY - March 31, 2021

                                                       Bar      Discounted
Timekeeper Name                    Title               Year   Billing Rate1   Billed Hours               Total Fees

L F DEJULIUS, JR.                  PARTNER             2003        960.00           9.50                 9,120.00
T R GEREMIA                        PARTNER             1999      1,000.00          67.60                67,600.00
J D GOETZ                          PARTNER             1986        860.00          52.90                45,494.00
  TOTAL                                                                           130.00               122,214.00
J M GROSS                          ASSOCIATE           2016        720.00          40.60                29,232.00
S C SCOTT                          ASSOCIATE           2019        380.00          24.90                 9,462.00
B J THOMSON                        ASSOCIATE           2019        540.00          11.30                 6,102.00
  TOTAL                                                                            76.80                44,796.00
A R VILLAR                         SR STAFF ATTY 2009              460.00           0.20                    92.00
  TOTAL                                                                             0.20                    92.00
J W BACH                           PARALEGAL                       320.00           3.30                 1,056.00
M M MELVIN                         PARALEGAL                       340.00           8.30                 2,822.00
  TOTAL                                                                            11.60                 3,878.00
J CHLUDZINSKI                      PROJECT ASST                    280.00           2.50                   700.00
  TOTAL                                                                             2.50                   700.00

 TOTAL                                                                             221.10    USD        171,680.00




        1
           Discounted rates reflect a 20% discount to Jones Day's standard rates, as agreed between Jones Day
and the Diocese and as disclosed in the Supplemental Declaration of Bishop Michael William Fisher in Support
of the Retention of Jones Day as Special Counsel to the Diocese [Docket No. 874].

 Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                  Description: Main Document , Page 4 of 16
                                       JONES DAY

                                Roman Catholic Diocese of Buffalo

                          DISBURSEMENT SUMMARY - March 31, 2021

Filing Fees and Related                                             627.00

TOTAL                                                                        USD   627.00




Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 5 of 16
                                               JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                                Page 1


03/01/21        L F DEJULIUS, JR.                                     1.50                             1,440.00
        Meeting with Diocese team regarding preparing for follow-up meeting with the Attorney General’s Office.
03/01/21         T R GEREMIA                                            2.60                             2,600.00
        Draft/revise opposition to Attorney General motion to remand action (0.80); meet with Diocese team, L.
        Quinlan, and L. DeJulius regarding Attorney General's remedies and StoneBridge audit materials (1.80).
03/01/21          J D GOETZ                                                 4.80                            4,128.00
        Attend call with the Diocese team, T. Connors, L. Quinlan and Jones Day team to discuss the Stonebridge
        audit process, documents relating to the same, and slide deck for the next meeting with the Attorney
        General’s office regarding claims for relief in the Complaint, and the Diocese's response to the same (1.80);
        review the Attorney General’s motion to remand regarding further research on New York statutes cited in
        the Complaint (0.30); conversation with S. Scott regarding research regarding the scope of New York
        statutes to incorporate additional arguments into the opposition brief (0.50); review e-mails and
        attachments from L. Quinlan regarding Stonebridge audit work plans and audit results for years 2016-2020
        (0.80); review and take notes on additional e-mails from L. Quinlan gathering Stonebridge audit materials
        by year from 2016-2020 and outline of scope of audits completed every three years, as well as during
        interim years (0.80); review a draft memorandum to file regarding results of the February 25th meeting with
        the Attorney General; review an e-mail from T. Connors regarding the same (0.30); conversation with S.
        Donato regarding the results of the February 25th meeting with the Attorney General’s office and next
        steps (0.30).
03/01/21        J M GROSS                                                  3.00                             2,160.00
        Draft/revise brief in opposition to motion to remand.
03/01/21         S C SCOTT                                                 1.50                              570.00
        Plan and prepare for research meeting with J. Goetz concerning the Attorney General's statutory authority,
        by reviewing filings submitted thus far in the Diocese of Buffalo action (1.00); communicate (in firm) with
        J. Goetz about research concerning the extent of the Attorney General's statutory authority in the Diocese
        of Buffalo action (0.50).
03/02/21      T R GEREMIA                                                 1.20                             1,200.00
        Communicate (with client) regarding efforts to ensure child safety and StoneBridge audit material.
03/02/21        T R GEREMIA                                               0.80                                800.00
        Draft/revise letter conveying StoneBridge audit materials to the Attorney General.
03/02/21         J D GOETZ                                                 3.50                              3,010.00
        Review and take notes on annual audits completed by Stonebridge from 2016-2020, management and
        compliance letters relating to same, as forwarded by L. Quinlan (2.00); attend call with client, L. Quinlan
        and T. Geremia regarding background and scope of Stonebridge audits, audit work plans and results of
        same for relevant years, revisions to child protection policy and IRB and monitoring protocols over time
        (1.50).
03/02/21         J M GROSS                                               9.50                           6,840.00
        Draft/revise brief in opposition to the Attorney General's motion to remand (9.00); communicate (in firm)
        with T. Geremia regarding the same (0.50).
03/02/21        S C SCOTT                                                 3.30                              1,254.00
        Research the extent of the Attorney General's statutory authority in the Diocese of Buffalo action.
03/03/21          L F DEJULIUS, JR.                                     1.10                               1,056.00
        Participate in meeting with Bishop Fischer, Diocese team, and outside counsel to discuss case strategy.
03/03/21        T R GEREMIA                                               1.80                             1,800.00
        Draft/revise letter to Office of the Attorney General regarding settlement discussions (0.80); weekly
        meeting with client and bankruptcy counsel regarding Office of the Attorney General lawsuit (1.00).




Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 6 of 16
                                               JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                                Page 2

03/03/21          J D GOETZ                                               2.80                                2,408.00
        Attend call with Diocese team, Jones Day and Connors LLP regarding results of the February 25th
        meeting, next steps and scope of production in response to Attorney General’s request at meeting including
        drafting of a letter to the Attorney General concerning the same (1.30); review back-up files for the 2020
        Stonebridge audit and charts relating to AB and CD charts provided regarding the 2018 audit (0.80); follow-
        up e-mail to L. Quinlan regarding questions regarding charts (0.20); revise letter to E. Stern regarding
        contents of production in response to requests during the February 25th meeting and terms of
        confidentiality for the same (0.50).
03/03/21        J M GROSS                                                1.30                                 936.00
        Draft/revise the brief in opposition to the Attorney General's motion to remand.
03/03/21        S C SCOTT                                                 5.50                              2,090.00
        Research the extent of the Attorney General's statutory authority in the Diocese of Buffalo action.
03/04/21         J W BACH                                             0.10                              32.00
        Review and attend to incoming correspondence regarding settlement discussions with the Attorney
        General.
03/04/21        T R GEREMIA                                               1.20                              1,200.00
        Draft/revise letter to Office of the Attorney General in furtherance of settlement efforts.
03/04/21          J D GOETZ                                                 1.10                             946.00
        Conversation with L. Quinlan regarding charts produced to the Attorney General relating to the 2018
        Stonebridge audit and previous production to the Attorney General relating to same (0.50); review e-mails
        from client regarding an approval to finalize a letter to the Attorney General and offer to produce
        Stonebridge audits and supporting documents (0.30); conversation with T. Connors regarding next steps
        following a letter to the Attorney General regarding the production of Stonebridge audits for requested
        years (0.30).
03/04/21        J M GROSS                                                5.10                               3,672.00
        Draft/revise the brief in opposition to the Attorney General's motion to remand.
03/04/21         S C SCOTT                                                8.50                               3,230.00
        Draft/revise a memo concerning the extent of the Attorney General's statutory authority in the Diocese of
        Buffalo action (6.90); research the extent of the Attorney General's statutory authority in the Diocese of
        Buffalo action (1.60).
03/05/21        T R GEREMIA                                            4.80                                 4,800.00
        Draft/revise opposition to Office of the Attorney General motion to remand.
03/05/21          J D GOETZ                                               0.50                                 430.00
        Review a memorandum from S. Scott regarding the results of research on the scope of New York statutes
        cited by the Attorney General in the Complaint to justify claims for relief against Diocese (0.40); e-mail
        from T. Geremia regarding incorporating the same into the Diocese's opposition to the Attorney General’s
        motion to remand (0.10).
03/05/21        J M GROSS                                                  6.80                             4,896.00
        Draft/revise brief in opposition to motion to remand.
03/05/21          S C SCOTT                                               6.10                           2,318.00
        Draft/revise a memo concerning the extent of the Attorney General's statutory authority in the Diocese of
        Buffalo action (6.00); communicate (in firm) with J. Goetz and T. Geremia about the memo concerning the
        extent of the Attorney General's statutory authority in the Diocese of Buffalo action (0.10).
03/07/21        T R GEREMIA                                            5.10                                 5,100.00
        Draft/revise opposition to Office of the Attorney General motion to remand.
03/07/21          J D GOETZ                                                1.00                               860.00
        Review and take notes on the research memorandum of S. Scott regarding the Attorney General’s authority,
        under New York statutes, cited in Complaint and statutory bases for claiming relief sought in Complaint
        (0.50); review initial draft opposition to the Attorney General’s motion to remand (0.40); respond to an e-
        mail from T. Geremia regarding adding introduction and conclusion in the current draft (0.10).
03/08/21        J W BACH                                              0.10                                     32.00
        Review and attend to incoming correspondence regarding settlement discussions.

Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 7 of 16
                                               JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                               Page 3

03/08/21          L F DEJULIUS, JR.                                     0.70                               672.00
        Call with J. Goetz and T. Geremia regarding response to Office of the Attorney General letter requesting
        meeting on March 19th and opposition to remand order (0.60); review Office of the Attorney General
        letter requesting meeting on March 19th (0.10).
03/08/21        T R GEREMIA                                            5.70                              5,700.00
        Draft/revise opposition to Office of the Attorney General motion to remand action to state court.
03/08/21         J D GOETZ                                                 1.00                              860.00
        Review letter from E. Stern (Attorney General) regarding response to Jones Day letter of March 4th (0.20);
        attend call with L. DeJulius and T. Geremia to discuss letter and response to same (0.60); follow-up e-mails
        to T. Connors and L. Quinlan to discuss work plan for gathering additional documents requested by
        Attorney General (0.20).
03/08/21         J D GOETZ                                             0.50                              430.00
        Review e-mails from client and T. Connors regarding monitoring program for clergy credibly accused of
        abuse, open items relating to draft program.
03/08/21        J D GOETZ                                               0.50                              430.00
        Review draft opposition brief to Attorney General’s motion to remand (0.20); conversation with T.
        Geremia regarding additional arguments to make on abstention, waiver of arguments relating to remand
        (0.30).
03/08/21        J M GROSS                                                1.80                             1,296.00
        Draft/revise brief in opposition to the Attorney General's motion to remand to incorporate edits from T.
        Geremia (1.50); communicate (in firm) with T. Geremia regarding same (0.30).
03/09/21         J W BACH                                               0.50                            160.00
        Review and attend to incoming correspondence regarding update to Bishop regarding Attorney General's
        response to Motion to Dismiss (0.20); review and attend to incoming correspondence regarding documents
        provided (0.30).
03/09/21        T R GEREMIA                                            6.80                              6,800.00
        Draft/revise opposition to Office of the Attorney General motion to remand action to state court.
03/09/21           J D GOETZ                                              3.30                             2,838.00
        Review Bates numbered documents regarding Diocesan audits completed by Stonebridge for 2016-2020
        (1.30); attend call with T. Connors and L. Quinlan to discuss requests for documents in Attorney General’s
        letter dated March 8th, response to requests and work plan for assembling same before proposed second
        meeting on March 19th (1.00); review chart of documents responsive to Attorney General’s requests for
        production in March 8th letter (0.40); e-mail to L. Quinlan, T. Geremia and L. DeJulius regarding revisions
        to same (0.10); review updated draft opposition to Attorney General’s motion for remand, as circulated by
        T. Geremia (0.50).
03/09/21        J M GROSS                                               0.80                              576.00
        Draft/revise brief in opposition to motion to remand to incorporate edits from T. Geremia (0.50);
        communicate (in firm) with T. Geremia regarding same (0.30).
03/10/21         J W BACH                                              0.40                                  128.00
        Prepare documents produced for printing and review by J. Goetz.
03/10/21          L F DEJULIUS, JR.                                      1.30                             1,248.00
        Participate in meeting with Bishop Fischer, Diocese team, and outside counsel to discuss preparation and
        strategy for Office of the Attorney General meeting and opposition to remand motion.
03/10/21          T R GEREMIA                                              5.90                            5,900.00
        Draft/revise opposition to Office of the Attorney General motion to remand action to state court and
        tables as exhibit to declaration in support of same, to demonstrate that Office of the Attorney General
        action focuses on compliance with Church norms and rules (4.9); weekly call with client concerning status
        and strategy (1.0).




Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 8 of 16
                                               JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                                Page 4

03/10/21          J D GOETZ                                              3.30                              2,838.00
        Attend call with Bishop Fisher, Diocese team and outside counsel regarding Attorney General’s March 8th
        letter and response to same, timing of second meeting proposed for March 19th, production of documents
        and agenda topics for same (1.30); review bates numbered copies of Stonebridge audit reports for 2016-
        2020 (0.40); follow-up call with L. Quinlan and T. Geremia regarding reorganizing audit reports for each
        year and supporting materials provided by Diocese in response to Stonebridge audit requests (0.60); follow-
        up e-mails with T. Connors and T. Geremia regarding terms to include in NDA to govern production of
        documents to Attorney General pursuant to their requests (0.50); prepare for, draft agenda points for call
        with Diocese of Buffalo executive team, outside counsel regarding status of Attorney General suit and
        strategy for second meeting (0.50).
03/11/21        J W BACH                                              0.20                             64.00
        Review and attend to incoming correspondence regarding corrected document production of the Diocese.
03/11/21         T R GEREMIA                                             5.10                             5,100.00
        Draft/revise opposition to Office of the Attorney General's motion to remand action (2.60); draft letter to
        Office of the Attorney General regarding settlement discussions and confidentiality agreement (2.50).
03/11/21          J D GOETZ                                                  2.90                            2,494.00
        Review and take notes on multiple protective orders, NDAs governing the production of documents in the
        New York Diocese Chapter 11 proceedings, in response to Attorney General’s subpoena regarding drafting
        stipulation for production of documents for settlement talks with Attorney General (1.00); review and
        revise initial draft opposition to Attorney General’s motion to remand (due March 15th) (0.80); review and
        revise draft letter to Attorney General (E. Stern), draft stipulation for production of documents in response
        to Attorney General’s requests in March 8th letter (0.50); e-mail to T. Geremia regarding additional topics
        to include in draft stipulation (0.30); review updated index for production of Stonebridge audit documents,
        as forwarded by L. Quinlan (0.30).
03/11/21         J M GROSS                                               2.60                             1,872.00
        Draft/revise brief in opposition to Attorney General's motion to remand to incorporate edits from JD
        team (0.50); communicate (in firm) with T. Geremia regarding same (0.30); draft/revise Exhibits to
        accompany brief in opposition (1.80).
03/12/21         J CHLUDZINSKI                                         2.50                                   700.00
        Cite-check the Opposition to Office of the Attorney General's Motion to Remand.
03/12/21        L F DEJULIUS, JR.                                   0.70                                      672.00
        Review and comment on draft opposition to motion to remand brief.
03/12/21         T R GEREMIA                                            4.10                              4,100.00
        Draft/revise opposition to Office of the Attorney General's remand motion (2.10); draft letter to Office of
        the Attorney General regarding settlement discussions and confidentiality agreement in connection with
        same (0.80); conference with L. Quinlan and J. Goetz regarding production of documents to Office of the
        Attorney General in connection with settlement discussions (1.20).
03/12/21          J D GOETZ                                                 4.60                              3,956.00
        Attend call with L. Quinlan and T. Geremia to discuss status of documents in response to Attorney
        General’s requests in letter of March 8th, update the Diocese policies and IRCB materials, final order of
        Stonebridge documents and audit manuals for years requested by Attorney General (1.00); review updated,
        reordered index for production of Stonebridge audits, additional materials added into production for 2016
        and subsequent years (0.50); e-mail to L. Quinlan regarding revisions in order of production and Bates
        number scheme to utilize in production (0.30); continue to revise draft brief in opposition to motion to
        remand (0.60); e-mail to T. Geremia regarding additional concepts to incorporate into opposition brief
        (0.20); further revisions to draft letter to E. Stern (Attorney General) regarding agenda topics for next
        meeting on March 19th (0.30); revisions to proposed stipulation for production of documents (0.30); e-mail
        to T. Geremia regarding revisions before finalizing same (0.10); review draft charts to append to draft brief
        in opposition to motion to remand regarding references to Church norms and standards in Attorney
        General’s Complaint (0.20); e-mail to T. Geremia and J. Gross regarding comments to incorporate into
        same (0.30); review e-mails from L. Quinlan regarding updates to policies to produce to Attorney General
        regarding clergy monitoring, safe environment, agendas and related materials for IRCB hearings (0.50);
        review e-mail from E. Stern requesting postponement of March 19th meeting due to Attorney General
        conflicts (0.20); e-mail to Jones Day and Connors teams regarding same (0.10).


Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 9 of 16
                                               JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                                Page 5

03/12/21         J M GROSS                                                2.10                          1,512.00
        Draft/revise exhibits to brief in opposition to Attorney General's motion to remand; communicate (in firm)
        with T. Geremia regarding incorporating edits from team and finalizing for filing.
03/12/21        A R VILLAR                                                 0.20                                92.00
        Review cite check edits in motion to remand.
03/13/21        L F DEJULIUS, JR.                                       0.50                                 480.00
        Review e-mail from E. Stern, Office of the Attorney General, regarding scheduling (0.10); final review and
        comments on opposition to motion to remand (0.40).
03/13/21         J D GOETZ                                               0.70                             602.00
        Review e-mails from L. Quinlan regarding updated Diocese child protection and clergy monitoring policies,
        response from Director & Officer insurers regarding request for coverage and agendas for IRCB meetings
        from 2016-2020 (0.40); review and respond to e-mails regarding E. Stern’s e-mail of March 12th postponing
        second meeting with the Diocese until April 8th (0.30).
03/15/21        J W BACH                                              0.50                                    160.00
        Review and attend to incoming correspondence regarding settlement discussion.
03/15/21        T R GEREMIA                                             6.50                           6,500.00
        Draft/revise opposition to Office of the Attorney General's remand motion and prepare same for filing.
03/15/21          J D GOETZ                                                3.20                              2,752.00
        Review, revise draft opposition to motion to remand (1.50); e-mail to T. Geremia and J. Gross regarding
        further comments on same before filing (0.30); review, revise charts to attach to brief in opposition to
        motion to remand (0.50); e-mails to T. Geremia and J. Gross regarding revisions before finalizing same
        (0.30); review draft letter to Judge Abrams regarding request for oral argument (0.20); e-mail to T. Geremia
        regarding comments on draft (0.10); review e-mails to the Diocese team regarding as-filed opposition brief,
        agenda points for March 17th case strategy call (0.30).
03/15/21        J M GROSS                                                    6.40                            4,608.00
        Draft/revise, finalize, and file the Diocese's brief in opposition to the Attorney General's motion to remand
        and accompanying exhibits (6.00); communicate (in firm) with T. Geremia regarding same (0.40).
03/16/21        J W BACH                                                  0.40                              128.00
        Review and attend to incoming court filings regarding notices of appearances and brief in opposition to
        motion to remand.
03/16/21         T R GEREMIA                                              3.50                           3,500.00
        Draft/revise timeline for client concerning settlement communications (1.20); review documents to be
        produced to Office of the Attorney General in connection with settlement discussions (1.40); conference
        with J. Goetz regarding settlement discussions with Office of the Attorney General (0.90).
03/16/21           J D GOETZ                                                3.30                             2,838.00
        Review documents to be produced to Attorney General following receipt of signed stipulation from
        Attorney General, including two policies regarding child protection and clergy monitoring (1.10);
        conversation with T. Geremia regarding agenda topics for second meeting with Attorney General,
        chronology of settlement discussions with Attorney General’s office, draft power point addressing claims
        for relief in Attorney General’s Complaint and production of documents following signed stipulation from
        Attorney General regarding confidentiality (0.80); e-mails to the Diocese team and Connors firm regarding
        filing of opposition papers to Attorney General’s motion to remand and charts appended as Exhibits A, B
        in support of opposition brief (0.50); review, revise draft chronology of settlement discussions with
        Attorney General, as requested by client in advance of March 17th Diocese call (0.30); e-mail to T. Geremia
        regarding comments on draft (0.20); e-mail to L. Quinlan regarding categories of documents to produce to
        Attorney General, status of draft power point addressing claims for relief and status of assembly of
        investigation reports to support IDRB deliberations (0.40).
03/16/21          J M GROSS                                             0.80                            576.00
        Communicate in firm with T. Geremia regarding next steps on motion for remand, including anticipated
        reply brief from Attorney General and scheduling oral argument.
03/17/21        J W BACH                                                0.20                                   64.00
        Review and attend to incoming court filings regarding Opposition to Remand.


Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 10 of 16
                                               JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                                Page 6

03/17/21          L F DEJULIUS, JR.                                      1.20                            1,152.00
        Prepare for weekly Diocese strategy meeting with Bishop Fischer, Diocese team, and outside counsel (0.30);
        participate in weekly Diocese strategy meeting with Bishop Fischer, Diocese team, and outside counsel
        (0.90).
03/17/21         T R GEREMIA                                            1.50                             1,500.00
        Communicate (with client) concerning weekly meeting (0.90); conference with J. Goetz regarding letter to
        Nuncio concerning Office of the Attorney General lawsuit (0.40); correspondence with client regarding
        Office of the Attorney General remand motion (0.20).
03/17/21           J D GOETZ                                              1.80                            1,548.00
        Attend call with the Diocese and outside counsel teams regarding update on Attorney General action, as-
        filed opposition to Attorney General motion to remand and response to Attorney General’s request for
        postponement of second meeting until April (0.80); conversation with T. Geremia regarding points to make
        in letter to Attorney General regarding response to request to postpone second meeting until April and
        points to include in summary of Attorney General litigation (0.50); conversation with Bishop Fisher and
        Diocese team regarding request for summary of Attorney General litigation, possible outcomes of same
        (0.50).
03/18/21          J D GOETZ                                              0.60                               516.00
        Review e-mails from client regarding plan to proceed with clergy monitoring program and supervision of
        clergy (0.30); review and respond to L. Quinlan regarding IDRB investigation reports and status of sending
        files to CDF by May 31st (0.30).
03/21/21          T R GEREMIA                                            3.80                            3,800.00
        Draft letter to Bishop Fisher regarding detailed summary of Office of the Attorney General lawsuit.
03/21/21         J D GOETZ                                               0.50                               430.00
        Review, revise draft summary of Attorney General case, allegations in Complaint, procedural status and
        next steps, as requested by Bishop Fisher.
03/22/21          T R GEREMIA                                            1.20                               1,200.00
        Revise letter to Bishop Fisher with detailed summary of Office of the Attorney General lawsuit.
03/22/21         J D GOETZ                                                1.80                             1,548.00
        Revise draft summary of case prepared for Bishop Fisher (two drafts) (1.40); e-mails and conversation with
        T. Geremia regarding revisions to drafts and additional concepts to include in the summary (0.40).
03/23/21        L F DEJULIUS, JR.                                         0.10                                 96.00
        Review draft letter to the Office of Attorney General regarding early resolution.
03/23/21           T R GEREMIA                                            2.50                             2,500.00
        Draft/revise letter to Office of the Attorney General in connection with settlement discussions (1.50); draft
        letter to Bishop Fisher with detailed summary and analysis of Office of the Attorney General lawsuit (1.00).
03/23/21          J D GOETZ                                               2.80                               2,408.00
        Review, revise, and finalize updated status report to Bishop Fisher on Attorney General litigation (1.70); e-
        mails to Bishop Fisher regarding comments on draft and plans to finalize same (0.30); review draft letter to
        E. Stern (New York Office of the Attorney General) regarding follow-up on open issues after first meeting
        in February, status of confidentiality agreement, dates and agenda for next meeting (0.50); review, respond
        to e-mails from client regarding agenda for March 24th call with the Diocese leadership team (0.30).
03/24/21          L F DEJULIUS, JR.                                        2.00                             1,920.00
        Prepare for meeting with Bishop Fischer, Diocese team and outside counsel regarding Office of the
        Attorney General meeting strategy (0.30); participate in meeting with Bishop Fischer, Diocese team and
        outside counsel regarding Office of the Attorney General meeting strategy (1.00); follow up call with J.
        Goetz and T. Geremia to discuss Office of the Attorney General meeting strategy and tasks for the same
        (0.50); review revised letter to the Office of the Attorney General (0.10); review updated Diocesan
        monitoring policy (0.10).
03/24/21         T R GEREMIA                                               2.40                              2,400.00
        Communicate (with client) for weekly status and update call (1.10); call with J. Goetz and L. DeJulius
        regarding next steps for settlement discussions with Office of the Attorney General (0.50); revise letter to
        Office of the Attorney General regarding settlement discussions (0.80).


Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 11 of 16
                                                JONES DAY
State of New York v. Diocese of Buffalo, et al.                                                                 Page 7

03/24/21          J D GOETZ                                                   2.80                            2,408.00
        Prepare for and attend call with the Diocese team, Jones Day and Connors teams regarding update on
        status of Attorney General case, strategy for second settlement meeting with the Office of the Attorney
        General and document production beforehand (1.20); follow-up calls with client, S. Donato and T.
        Connors regarding case strategy, incorporating Office of the Attorney General settlement talks with the
        Diocese of Brooklyn into letter to Office of the Attorney General, reply brief on remand issue due from
        Office of the Attorney General on March 25th (0.80); converse with L. DeJulius and T. Geremia regarding
        strategy, preparations for second meeting with the Office of the Attorney General to discuss possible early
        resolution of case (0.50); revise draft letter to the Office of the Attorney General regarding follow-up on
        document production, confidentiality stipulation and dates for second settlement meeting (0.30).
03/25/21        J W BACH                                              0.10                                      32.00
        Review and attend to incoming correspondence regarding confidentiality agreement.
03/25/21        T R GEREMIA                                             0.90                              900.00
        Review/analyze Office of the Attorney General reply brief on remand motion and draft analysis of same.
03/25/21         J D GOETZ                                                1.30                             1,118.00
        Review reply brief filed by the Office of the Attorney General on remand issue (0.50); e-mails to T.
        Geremia regarding initial impressions regarding points made in reply brief addressing abstention and waiver
        arguments advanced by Diocese (0.30); converse with L. Quinlan regarding status of document production
        to the Office of the Attorney General following receipt of signed confidentiality agreement and status of
        CDF and IRB investigation reports for the production (0.50).
03/25/21         J M GROSS                                              0.40                               288.00
        Review/analyze Attorney General's reply brief in support of her motion to remand (0.30); draft/revise e-
        mail correspondence to T. Geremia regarding same (0.10).
03/26/21        J W BACH                                                0.20                               64.00
        Review and attend to incoming court filings regarding Attorney General Reply Brief regarding Motion to
        Remand.
03/26/21         L F DEJULIUS, JR.                                       0.40                                  384.00
        Analyze the Office of the Attorney General’s reply in support of motion to remand.
03/26/21         J D GOETZ                                                0.30                             258.00
        Further review of the Office of the Attorney General’s reply brief in support of motion to remand case to
        state court, take notes on same.
03/29/21          J D GOETZ                                               0.50                            430.00
        Call with L. Quinlan regarding revisions to master index of documents to produce to Office of the
        Attorney General following execution of confidentiality stipulation and agenda for March 31st Diocese
        leadership call.
03/31/21         T R GEREMIA                                            0.20                               200.00
        Communicate (in firm) with J. Goetz regarding status of settlement discussions and Office of the Attorney
        General lawsuit.
03/31/21         J D GOETZ                                               0.80                               688.00
        Prepare for, attend Diocese call regarding updates on Attorney General litigation, status of upcoming
        production of documents to Attorney General after execution of confidentiality agreement, dates for
        second meeting (0.60); e-mail to L. DeJulius, T. Geremia regarding results of same (0.20).

    TOTAL                                                               198.20               USD         160,242.00




Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 12 of 16
                                               JONES DAY
Fee/Employment Applications                                                                                    Page 1


03/01/21         M M MELVIN                                               3.90                            1,326.00
        Review February time entries in the most recent run of the Diocese of Buffalo's December - February
        invoice and mark up with comments, entries to be combined, moves to other matters, and time broken out
        to prepare invoices for bankruptcy filing (3.50); forward the mark-up to the Financial Department to have
        the comments/revisions/moves implemented (0.10); several communications with B. Thomson with
        questions regarding the case to provide context regarding certain time entries (0.30).
03/02/21        M M MELVIN                                                 0.10                        34.00
        Communication with T. Ernst from the Financial Department regarding her question to do with combining
        timekeepers time entries if the entries regard the same day and the same matter.
03/04/21         J D GOETZ                                               0.30                               258.00
        Conversation with B. Thomson regarding status of first fee application to present to the bankruptcy court
        for approval before March 20th.
03/08/21        J D GOETZ                                              0.30                               258.00
        Review e-mail from B. Thomson regarding draft statement for services to file with bankruptcy court on
        March 16th, open issues relating to same.
03/08/21        B J THOMSON                                            1.90                             1,026.00
        Review draft monthly fee statement and revised to conform with bankruptcy filing requirements (1.40); call
        and e-mails with J. Goetz regarding the same (0.50).
03/11/21        J D GOETZ                                              0.50                              430.00
        Review draft billsets for Jones Day time incurred from December – February, conversation with B.
        Thomson regarding remaining work to complete and file same.
03/15/21          M M MELVIN                                              0.30                                102.00
        Update the timekeeper spreadsheet tracker to calculate time for the first interim fee application per month
        rather than by the group of months December to February.
03/15/21        B J THOMSON                                           0.60                                    324.00
        Review and revise monthly fee statement to conform with bankruptcy filing requirements.
03/16/21          M M MELVIN                                               1.40                               476.00
        Review final drafts of the December, January and February time entries and input the figures from those
        into the Diocese of Buffalo spreadsheet time entry tracker (0.80); input formulas into spreadsheet to
        calculate interim hours and fees (0.60).
03/16/21        B J THOMSON                                           0.60                                    324.00
        Review and revise monthly fee statement to conform with bankruptcy filing requirements.
03/17/21        J D GOETZ                                              0.50                            430.00
        Review and approve monthly fee statement filing for Jones Day’s work from December – February.
03/17/21         J D GOETZ                                            0.50                                 430.00
        E-mail to Bishop Fisher and the Diocese team regarding Jones Day's first monthly fee statement for
        professional services from December – February, content of same and plan to submit on March 17th.
03/17/21         M M MELVIN                                               0.30                            102.00
        Prepare for, review and e-file the Notice of Filing of the Monthly Fee Statement of Jones Day for
        Compensation For Services Rendered and Reimbursement of Expenses as Special Counsel to The Diocese
        of Buffalo, N.Y. For the Period December 1, 2020 Through February 28, 2021.
03/17/21        B J THOMSON                                             0.40                                  216.00
        Prepare monthly fee statement for filing and review filed document.
03/19/21          B J THOMSON                                              2.60                             1,404.00
        Draft first interim fee application.
03/22/21          M M MELVIN                                                1.50                              510.00
        Telephone call with B. Thomson regarding the spreadsheet of fees for the first interim fee application
        (0.20); perform calculations in the case spreadsheet for hours and fees, taking into consideration updates in
        timekeeper rates from 2020 to 2021 and provide combined totals for each timekeeper for B. Thomson
        (1.00); format the spreadsheet to be used as a chart within the first interim fee application (0.30).


Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 13 of 16
                                                JONES DAY
Fee/Employment Applications                                                                               Page 2

03/22/21         B J THOMSON                                                 3.80                      2,052.00
        Draft and revise first interim fee application.
03/23/21         J D GOETZ                                              0.30                             258.00
        Review interim fee application, e-mail to B. Thomson regarding comments on same.
03/30/21         B J THOMSON                                                 0.50                        270.00
        Draft certificate of no objection to first monthly fee statement.
03/31/21         J D GOETZ                                            0.30                                258.00
        Conversation with B. Thomson regarding deadline for objections to Jones Day first fees statement and
        planned filing on April 2 regarding the same.
03/31/21         B J THOMSON                                               0.40                          216.00
        E-mails and call with J. Goetz regarding certificate of no objection.

    TOTAL                                                                   21.00       USD          10,704.00




Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 14 of 16
                                              JONES DAY
Case Administration                                                                                      Page 1


03/01/21         J W BACH                                             0.60                              192.00
        Review and attend to incoming documents from client regarding Audit Safe Compliance Letters (0.30);
        process internal request to R Drive from S. Scott (0.30).
03/11/21         B J THOMSON                                           0.50                             270.00
        Prepare pro hac vice application for J. Goetz.
03/12/21          M M MELVIN                                                  0.80                       272.00
        Review, prepare PDFs for filing and e-file John D. Goetz's Pro Hac Vice Application and proposed Order
        (0.30); prepare service lists and mailing labels for the case (0.50).

    TOTAL                                                             1.90             USD             734.00




Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                 Description: Main Document , Page 15 of 16
                                                JONES DAY
 Roman Catholic Diocese of Buffalo                                                                            Page 1



                                   State of New York v. Diocese of Buffalo, et al.

                                DISBURSEMENT DETAIL - March 31, 2021

Date             Timekeeper Name                                       Location         Amount
CERTIFICATE OF GOOD STANDING FEE
03/11/21          B R ZIMMERMAN                                           PIT              25.00
        Certificate of Good Standing fee for John D. Goetz.
                  Certificate of Good Standing fee Subtotal                                                 25.00
FILING FEES AND RELATED
01/09/21          J M GROSS                                              NYC              402.00
        Filing fee made upon removal of the case to federal court.
03/15/21          J M GROSS                                              NYC              200.00
        Filing fees and related Paid for John Goetz's pro hac vice application in the Diocese of Buffalo case.
                  Filing fees and related Subtotal                                                        602.00
         Total                                                                         USD                627.00

 Grand Total                                                                           USD                627.00




 Case 1-20-10322-CLB, Doc 1008, Filed 04/20/21, Entered 04/20/21 17:32:54,
                  Description: Main Document , Page 16 of 16
